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        EXHIBIT E
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(12) United States Patent                                                        (10) Patent No.:                   US 7,813,706 B2
       St. Germain et al.                                                        (45) Date of Patent:                        Oct. 12, 2010

(54) IMPEDANCE MATCHED LANE REVERSAL                                         (56)                    References Cited
           SWITCHING SYSTEM                                                                    U.S. PATENT DOCUMENTS
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(73) Assignee: Analog Devices, Inc., Norwood, MA                              2002/0085578 A1*        7, 2002 Dell et al. .........    ... 370,422
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( c ) Notice:          Subject to any disclaimer, the term of this            2005, 0123027 A1*        6/2005 Ciofi et al. ................. 375.222
                      patent is extended or adjusted under 35                 2005/0265526 A1* 12/2005 Saeki ...................... 379,90.01
                      U.S.C. 154(b) by 989 days.
                                                                             * cited by examiner
(21) Appl. No.: 11/346,003                                                   Primary Examiner Edward Urban
22)        Filed:      Feb. 2, 2006                                          Assistant Examiner Ganiyu Hanidu
(22) File               e). A                                                (74) Attorney, Agent, or Firm Goodwin Procter LLP
(65)                      Prior Publication Data
                                                                             (57)                       ABSTRACT
           US 2007/O178849 A1            Aug. 2, 2007
                                                                             An impedance matched lane reversal Switching system
             Related U.S. Application Data                                   including first and second transceiver pairs, each of the pairs
(60) Provisional application No. 60/649,869, filed on Feb.                   including a transmitter connected to a receiver, the output of
     3, 2005.                                                                the transmitter connected to the input of the receiver and to a
                                                                             node, the node of each pair interconnected with a transmis
(51) Int. Cl.                                                                sion line and a Switching circuit for selectively enabling one
     H04B I/44                    (2006.01)                                  of the transmitters of one of the transceiver pairs and dis
(52) U.S. Cl. ............................. 455/83:455/78; 455/82;           abling the other and selectively utilizing one of the receivers
                                                  333/101: 333/32            of the other of the transceiver pairs and not the other to
(58) Field of Classification Search ................... 455/83,              selectively reverse an egress side and an ingress side of the
            455/78; 370/229,390, 395.4, 417,422; 379/9001:                   lane.
                                  375/224, 254; 333/101, 32
           See application file for complete search history.                                   18 Claims, 7 Drawing Sheets


 external
    pin
     CTL                                                       Switching
                                                                circuit




                                                              -->
                                181
                                                        187égress
                                egreSS


                              ingress)
                                e-----

                                 189
 L                                        198/                            switch Card
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                                                       US 7,813,706 B2
                                1.                                                                     2
      MPEDANCE MATCHED LANE REVERSAL                                      The result of the DC impedance mismatch is a reduced signal
            SWITCHING SYSTEM                                              amplitude strength seen at the receiver.
                                                                            Associated with each of the transmitters and receivers on
                RELATED APPLICATIONS
                                                                          the ICs and their terminating resistances are bond wires that
                                                                          are connected to package traces. Outside each IC or chip, card
  This application claims the benefit of U.S. Provisional                 traces connect the package traces for the respective transmit
Application No. 60/649,869 filed Feb. 3, 2005, incorporated               ters and receivers to a connector that connects to the back
by reference herein.                                                      plane. At high frequency AC, e.g., 3.2 Gbits/sec, the transition
                FIELD OF THE INVENTION                               10   time for a pulse is approximately 100 picoseconds, which
                                                                          approaches the travel time of the pulse through the package
  This invention relates generally to a Switching system and              traces and card traces. At Such high frequencies the card
more particularly to an impedance matched lane reversal                   traces and package traces behave like transmission lines and
Switching system that reverses the ingress and egress sides of            have a characteristic impedance associated with them. There
the lane to provide connectivity to different types of devices.      15   fore, the high frequency AC impedance seen looking into the
                                                                          two nodes on the two sides of the lane is less than the expected
          BACKGROUND OF THE INVENTION                                     high frequency AC impedance. The result of this high fre
                                                                          quency AC impedance mismatch is reflections at two nodes.
   In high speed Switching of digital signals a Switching sys             When the design includes a terminating resistance connected
tem, typically part of a Switch card, is connected to a back              to each transmitter and each receiver of the transmitter/re
plane. Multiple line cards that each include a plurality of               ceiver pairs, then a reduced high frequency signal amplitude
Ethernet connection ports are also connected to the back                  is received by the active receiver. If the design eliminates the
plane. The Ethernet ports provide connectivity to a vast array            terminating resistances connected to the receivers of the
of digital devices, e.g., computers, printers, and the like, on a    25
                                                                          transmitter/receiver pairs on the ICs to provide DC imped
typical computer network. The Switching system provides                   ance matching, then the high frequency impedance mismatch
high speed Switching of the digital signals to and from the               results in reflections not only at the nodes on the sides of the
digital devices connected to the line cards.                              lane, but also at the receivers of the transmitter/receiver pairs
   A typical conventional Switching system includes, inter                on the ICs. These additional high frequency reflections at the
alia, a transmitter and a receiver on an IC that are connected       30   receivers cause pulse edge distortion.
to the backplane. The line card, or other similar device, simi
larly includes a transmitter and receiver connected to a back                         SUMMARY OF THE INVENTION
plane.
   A lane includes two logical connections. It includes both                 It is therefore an object of this invention to provide an
the connection from the transmitter of the Switching system          35   impedance matched lane reversal Switching system.
on the switch card to the backplane and to the receiver on the               It is a further object of this invention to provide such a
line card, and the connection from the transmitter on the line            system which reduces high frequency reflections.
card to the backplane and to the receiver on the Switching
system on the Switch card. A single lane allows transmitting                 It is a further object of this invention to provide such a
data from the Switch card to the line card and transmitting data          system which improves high frequency impedance matching.
                                                                     40
from the line card to the switch card simultaneously. These                  It is a further object of this invention to provide such a
are commonly called the ingress (inbound) and egress (out                 system which reduces pulse edge distortion.
bound) sides of the lane. Data is typically transmitted out to               It is a further object of this invention to provide such a
the line card on the egress side and data is received from the            system which can be integrated on a single chip.
line card on the ingress side. Therefore, in order for the line      45      It is a further object of this invention to provide such a
card, or similar device, to function properly with the switch             system which requires only a single terminating resistance for
card, the egress side of the lane must match the receiver on the          each transmitter and receiver pair.
line card, or similar device, and the ingress side of the lane               This invention results from the realization that an imped
must match the transmitter on the line card. Hence, if the                ance matched lane reversal Switching system that provides
receiver and transmitter of the line card do not match the
appropriate egress and ingress sides of the lane the devices
                                                                     50   connectivity to devices that have different orientation of their
may still function properly but communication will fail.                  transmitters and receivers and provides both DC and high
                                                                          frequency AC impedance matching can be effected on a
   Typical prior art lane reversal Switching systems that                 single chip by utilizing a pair of transceivers that each include
attempt to overcome this problem utilize two ICs that each                a transmitter connected to a receiver wherein the output of the
includes a transmitter and a receiver. The designs utilize one       55   transmitter is connected to the input of the receiver and to a
transmitter/receiver pair on one chip connected to the egress             node and each node is connected to a transmission line, and a
and ingress sides of the lane that match one type of device and           switching circuit that selectively enables one of the transmit
utilize the other transmitter/receiverpair on the other chip that         ters of one of the transceiver pairs and disables the other and
are connected to opposite sides of the lane to provide connec             utilizes one of the receivers of the other transceiver pair and
tivity to another type of device that has the configuration of its   60   not the other to selectively reverse the egress and ingress side
transmitter and receiver reversed.                                        of a lane so that devices that have opposite orientations of
   Because the transmitter and receiver on one of the two                 their transmitters and receivers can be utilized. This invention
chips are connected to opposite sides of the lane from the                results from the further realization that utilizing a single chip
transmitter and receiver on the other chip, two nodes exist at            and a single terminating resistance for each transmitter and
the connection point between the two sides of the lane.              65   receiver pair eliminates nodes on the lane and provides high
   In operation, the DC impedance seen looking into these                 frequency AC impedance matching and virtually eliminates
nodes is less than expected, e.g., half the expected impedance.           reflections and pulse edge distortion.
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   The subject invention, however, in other embodiments,                     FIG. 3 is a schematic block diagram of another prior art
need not achieve all these objectives and the claims hereof               lane reversal Switching system;
should not be limited to structures or methods capable of                    FIG. 4 is a graph showing a waveform with pulse edge
achieving these objectives.                                               distortion generated by the lane reversal Switching system
   This invention features an impedance matched lane rever           5    shown in FIG. 3;
sal Switching system including first and second transceiver                 FIG. 5 is a schematic block diagram of yet another prior art
pairs, each of the pairs including a transmitter connected to a           lane reversal Switching system;
receiver, the output of the transmitter connected to the input of           FIG. 6 is a schematic block diagram of one embodiment of
the receiver and to a node, the node of each pair intercon                the impedance matched lane reversal Switching system of this
nected with a transmission line, and a Switching circuit for         10
                                                                          invention; and
selectively enabling one of the transmitters of one of the                   FIG. 7 is schematic block diagram of another embodiment
transceiver pairs and disabling the other and selectively uti             of the impedance matched lane reversal Switching system of
lizing one of the receivers of the other of the transceiver pairs         this invention.
and not the other to selectively reverse an egress side and an
ingress side of the lane.                                            15
                                                                                            PREFERRED EMBODIMENT
   In one embodiment, the system may include a set of termi
nating resistances interconnected to each node and to each                  Aside from the preferred embodiment or embodiments
transmission line for impedance matching and terminating                  disclosed below, this invention is capable of other embodi
both the transmitter and receiver of each of the transceiver
pairs. The system may include a connection to at least two                ments and of being practiced or being carried out in various
types of devices that have different orientation of their trans           ways. Thus, it is to be understood that the invention is not
mitters and receivers. The at least two types of devices may              limited in its application to the details of construction and the
include line cards or Switch cards. The system may be inte                arrangements of components set forth in the following
grated on a single chip. The single chip may be disposed on a             description or illustrated in the drawings. If only one embodi
Switch card. The single chip may be disposed on a line card.         25   ment is described herein, the claims hereof are not to be
The Switching circuit may include a plurality of Switching                limited to that embodiment. Moreover, the claims hereofare
devices for selectively enabling one of the transmitters of one           not to be read restrictively unless there is clear and convincing
of the transceiver pairs and utilizing one of the receivers of the        evidence manifesting a certain exclusion, restriction, or dis
                                                                          claimer.
other transceiver pairs in response to a control signal. The
Switching circuit may include an external control pin. The           30      Conventional prior art lane reversal switching system 10,
Switching circuit may include a cross bar circuit having at               FIG. 1 includes IC 12 and IC 14 that are employed in typical
least one input and at least one output for selectively connect           switch card 15. IC 12 includes transmitter 16 with terminating
ing the at least one output to an enabled one of the transmitters         resistance 26, bond wire 66 and package trace 68 connected to
of the transceiver pairs and the at least one input to a utilized         egress (outbound) side 20 of lane 22 and receiver 18 with
one of the receivers of the other transceiver pair.                  35   terminating resistance 28, bond wire 72 and package trace 74
   This invention also features an impedance matched lane                 connected to ingress (inbound) side 24 of lane 22. Egress side
reversal Switching system including first and second trans                20 and ingress side 24 connect to backplane transmission
ceiver pairs, each of the pairs including a transmitter con               lines 33 and 35 of backplane 32 via connector 30. Device 34,
nected to a receiver, the output of the transmitter connected to          e.g., a line card, or similar device connects to backplane 32
the input of the receiver and to a node, the node of each pair       40   via connector 37. In this example, device 34 includes receiver
interconnected with a transmission line, and a Switching cir              38 with terminating resistance 58 and card trace 39 aligned
cuit for selectively enabling one of the transmitters of the              with egress side 20 and transmitter 36 with terminating resis
transceiverpairs and disabling the other in one mode to selec             tance 56 and card trace 41 aligned with ingress side 24.
tively reverse an egress side and an ingress side of the lane.               In operation, data is transmitted by transmitter 16 on IC 12
   This invention also features a method of impedance match
                                                                     45   to receiver 38 on device 34 via egress (outbound) side 20 of
ing and lane reversing a Switching system including the steps             lane 22, indicated by arrow 21, and data is received by
                                                                          receiver 18 on IC 12 from transmitter 36 on device 34 via
of providing first and second transceiver pairs, each of the              ingress (inbound) side 24 of lane 22, indicated by arrow 25.
pairs including a transmitter connected to a receiver, the out            The line card (device 34) may also include an IC having
put of the transmitter connected to the input of the receiver        50   receivers 38 and 38' and transmitters 36 and 36". However, if
and to a node, the node of each pair interconnected with a                the orientation of transmitter 36 and receiver 38 in device 34
transmission line, and selectively enabling one of the trans              is reversed, e.g., transmitter 36' is aligned with egress side 20
mitters of one of the transceiver pairs and disabling the other           of lane 22 and receiver 38' is aligned with ingress side 24 of
and selectively utilizing one of the receivers of the other of the        lane 22, communication to device 34 will fail. To accommo
transceiver pairs and not the other to selectively reverse an        55   date for this situation, conventional system 10 includes IC 14
egress side and an ingress side of the lane.                              that includes transmitter 48 and receiver 50 which are con
       BRIEF DESCRIPTION OF THE DRAWINGS                                  nected to opposite sides of lane 22, e.g., transmitter 48 is
                                                                          connected to side 24 of lane 22 and receiver 50 is connected
                                                                          to side 20. Hence, side 24 of lane 22 now acts as the egress
   Other objects, features and advantages will occur to those        60   (outbound) side of lane 22, indicated by arrow 49 (shown in
skilled in the art from the following description of a preferred          phantom) and data is transmitted from transmitter 48 on IC 14
embodiment and the accompanying drawings, in which:                       to receiver 38'. Similarly, side 20 now acts the ingress (in
   FIG. 1 is a schematic block diagram of a prior art lane                bound) side of lane 22, indicated by arrow 51 (shown in
reversal Switching system;                                                phantom) and data transmitted by transmitter 36' is received
   FIG.2 is a graph showing a waveform with a reduced signal         65   by receiver 50 on IC 14. Hence, system 10 has reversed the
output generated by the lane reversal Switching system shown              ingress and egress sides of lane 22 to match the configuration
in FIG. 1;                                                                of transmitter 36' and receiver 38' in device 34.
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                               5                                                                         6
  However, the connection between transmitter 48 on IC 14                mismatch at nodes 62 and 64 discussed above. Waveform 96
to side 24 of lane 22 and the connection between receiver 50             shows an example of a desired signal that would be received
to side 20 of lane 22 results in nodes 62 and 64, respectively.          by the active receiver.
The result is that the DC impedance seen at nodes 62 and 64                 Prior art lane reversal switching system 10", FIG. 5 where
is less than the desired impedance associated with the termi             like parts have been given like numbers, similarly uses a
nating resistance of the active transmitter. In this example, the        single terminating resistance for each transmitter on IC 12
impedance at node 64 is half the expected impedance of                   and IC 14. This design moves terminating resistance 26 that
terminating resistance 26 when transmitter 16 is enabled due             was previously located off IC 12, as shown by arrow 99, FIG.
to terminating resistances 54 and 58 and the impedance at
node 62 is half of the expected impedance of terminating            10   3 to on IC 12 as shown by arrow 101, FIG. 5. Similarly,
resistance 56 when transmitter 36 is active due to terminating           terminating resistance 52 is moved on IC 14, as shown by
resistances 28 and 52. The result is a reduced DC signal                 arrow 103. Although this design also improves DC imped
amplitude being received at receiver 38 when transmitter 16 is           ance matching at nodes 62 and 64, the design also suffers
active and at receiver 50 when transmitter 36 is active. The             from high frequency impedance mismatching at nodes 62 and
same mismatched impedance is seen at nodes 62 and 64 when           15   64 due to the various package traces and card traces that
transmitter 48 is active and transmitter 36' is active.                  behave like transmission lines with a characteristic imped
   The high frequency AC impedance seen at node 64 will                  ance. The design does remove three points of reflectionate.g.,
also be less than that expected when transmitter 16 is enabled           at nodes 67, 69, and 71, FIG. 3, because terminating resis
due to the card trace 88 and package trace 86 behaving like              tances 26 and 52, FIG. 5, are moved on chip.
transmission lines with a characteristic impedance. The high                In contrast, impedance matched lane reversal Switching
frequency impedance seen at node 62 is also less than                    system 150, FIG. 6 of this invention, effectively reverses the
expected when transmitter 36 is active and receiver 18 is used           ingress and egress sides of the lane to provide connectivity to
due to card trace 76 and package trace 80 behaving like                  a plurality of devices, e.g., line cards, Switch cards, and the
transmission lines. The same high frequency impedance mis                like, that have different configurations of their transmitters
match is found at node 62 when transmitter 48 is active and at      25   and receivers. System 150 also provides both DC and high
node 64 when transmitter 36' is active and receiver 50 is used.          frequency AC impedance matching by eliminating nodes on
   The high frequency impedance mismatch at node 64                      the sides of the lane and using a single terminating resistance
results in the one third (/3) of the signal on egress side 20 of         connected to each transmitter and receiver pair. The result is
lane 22 (when transmitter 16 is active) being reflected back to          that reflections are virtually eliminated and a full strength
transmitter 16 where the signal ends due to terminating resis       30   signal is received by the active receiver that is virtually free of
tance 26. A fraction of the signal travels through node 64 to            pulse edge distortion.
receiver 38 with terminating resistance 58 where the signal                 Impedance matched lane reversal switching system 150
ends. The result is the signal received by receiver 38 has a             includes first transceiver pair 152 and second transceiver pair
reduced signal amplitude, e.g., two thirds (2/3) the expected            154. Transceiver pair 152 includes transmitter 156 and
value. Similarly, the signal received by receiver 18 when           35
                                                                         receiver 158. The output of transmitter 156 connects to the
transmitter 36 is active will also be reduced.
   FIG.2 shows an example of the signal 90 that has a reduced            input of receiver 158 by line 160 and to node 162. Terminating
                                                                         resistance 164 is attached to node 162. Node 162 connects to
signal amplitude when compared to desired receiver signal 92             bond wire 163 that attaches to package trace 165. Package
received by active receivers discussed above.                            trace 165 interconnects to card trace 206. Transceiverpair 154
   Another conventional prior art lane reversal Switching sys       40
                                                                         includes receiver 168 and transmitter 170. The output of
tem 10". FIG. 3, where like parts have been given like num               transmitter 170 connects to the input of receiver 168 by line
bers, utilizes a design similar to system 10 described above             172 and to node 174. Terminating resistance 176 is attached to
except terminating resistance 26 associated with transmitter             node 174. Node 174 attaches to bond wire 177 that connects
16 is located off IC 12 and terminating resistance 52 associ             to package trace 208. Package trace 208 interconnects to card
ated with transmitter 48 is located off IC 14. The design also      45
                                                                         trace 210. Preferably, transceiver pairs 152 and 154 with
removes the terminating resistances associated with receiver             terminating resistances 164 and 176, respectively, are on a
18 on IC 12 and receiver 50 on IC 14.
  One improvement to this design is that the DC impedance                single chip, e.g., chip 250 that is included on a typical Switch
seen at nodes 62 and 64 matches the terminating resistance               card, e.g., Switch card 252.
associated with active transmitter.                                 50      Card traces 206 and 210 affix to connector 211 that couple
  However, the high frequency AC impedance at nodes 62                   to backplane transmission lines 204 and 212 of backplane
and 64 remains mismatched due to the various card traces 70,             213. Connector 215 interconnects backplane 213 to device
88, 76, and 82 and package traces 80 and 86 behaving like                200, e.g., a line card, Switch card, or similar device. Device
transmission lines with a characteristic impedance at the                200 typically includes receiver 184 with terminating resis
nodes. The high frequency AC impedance at node 62 is fur            55   tance 216 and transmitter 186 with terminating resistance 188
ther decreased due to terminating resistance 52.                         interconnected to connector 215 via package traces 202 and
   Similarly, the high frequency impedance mismatch at                   214, respectively.
nodes 62 and 64 causes a portion of the signal to be reflected              As described above, package traces 165 and 208, and card
back to the active transmitter and a fraction of the signal to           traces 206 and 210 on switch card 252, as well as package
travel through the node. However, because there are no ter          60   traces 202 and 214 on device 200 behave like transmission
minating resistances on receiver 18 on IC 12 and receiver 50             lines with a characteristic impedance (e.g., 5092) at high fre
on IC 14, the fraction of the signal that travels through nodes          quencies (e.g., 3.2 Gbits/sec) when the transition time of a
62 and 64 will be reflected back to the corresponding active             pulse approaches the travel time of the pulse through the
transmitter. These reflections result in pulse edge distortion of        package traces and card traces.
the signal received by receiver 38.                                 65      Switching circuit 185 selectively enables one of transmit
   Waveform 94, FIG. 4, shows an example of the pulse edge               ters 156 or 170 of transceiver pairs 152 and 154 and disables
distortion that results from the high frequency impedance                the other and utilizes one of receivers 158 or 168 of the
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opposite transceiver pairs 152 and 154 of the enabled trans             no reflection will result and the signal that is received by
mitter 156 or 170 to selectively reverse sides 180 and 182 of           receiver 184 is a full strength signal. Similarly, when trans
lane 198.                                                               mitter 186 is active and receiver 168 is used, no reflection will
   For example, switching circuit 185 may selectively enable            occur. The same result is also found when transmitter 170 is
transmitter 156 of transceiver pair 152, disable transmitter       5    enabled and receiver 158 is used. Because receiver 158 of
170 of transceiver pair 154, utilize receiver 168 of transceiver        transceiver pair 152 is associated with terminating resistance
pair 154 and not utilize receiver 158 of transceiverpair 152 to         164, e.g., 5092, and receiver 168 of transceiver pair 154 is
provide connectivity to device 200 with receiver 184 and                associated with terminating resistance 176, e.g., 5092, no
transmitter 186. In this example, data is transmitted by trans          reflection will occur at active receiver 158 or 168. The result
mitter 156 of transceiver pair 152 on egress side 180 of lane      10   is that high frequency reflections are virtually eliminated as is
198, indicated by arrow 181, to receiver 184 on device 200.             the pulse edge distortion associated therewith.
Data is transmitted by transmitter 186 on device 200 to                    Switching circuit 185 is responsive to an external control
receiver 168 of transceiver pair 154 on ingress side 182 of             signal from external pin 191 by line 192 that selectively
lane 198, indicated by arrow 183.                                       switches switching device 194 and switching device 196 to
   To provide connectivity to device 200, e.g., a line card,       15   nodes 197 and 199, respectively, to enable transmitter 156 of
another switch card, or similar device with transmitter 186"            transceiver pair 152 and utilize receiver 168 of transceiver
and receiver 184', (shown in phantom) that are in opposite              pair 154. In this example, the control signal on line 192 may
configuration as transmitter 186 and receiver 184, Switching            be a logical high (e.g. CTL=1) that enables transmitter 156.
circuit 185 enables transmitter 170 of transceiverpair 154 and          The control signal online 192 also switches switching device
disables transmitter 156 of transceiver pair 152 and utilizes           194 and switching device 196 to nodes 201 and 203, respec
receiver 158 of transceiver pair 152 and does not utilize               tively, to enable transmitter 170 of transceiver pair 154 and to
receiver 168 of transceiver pair 154. In this way, data will be         utilize receiver 158 of transceiver pair 152. In this example,
transmitted by transmitter 170 of transceiver pair 154 on side          the externally generated control signal on line 192 may be a
182 of lane 198, which now acts as the egress side of the lane,         logic low (e.g., CTL=0). The output of inverter 195 is con
indicated by arrow 187 (shown in phantom) to receiver 184'.        25   nected to transmitter 170 which enables transmitter 170 when
Similarly, data will be transmitted by transmitter 186' on              CTL=0 (CTL=1).
device 200 on side 180 of lane 198, which now acts as the                  Switching circuit 185 also includes cross bar circuit 260,
ingress side of the lane, indicated by arrow 189 (shown in              FIG. 7, having at least one input and at least one output, e.g.,
phantom) to receiver 158 of transceiverpair 152. The result is          receiver output 262 and transmitter input 264. Cross bar cir
that switching circuit 185 of system 150 has effectively           30   cuit 260 selectively connects receiver output 262 to one of the
reversed the ingress and egress sides of lane 198 to provide            transmitters of transceiver pairs 152 and 154 and connects
connectivity to device 200 that has different orientation of its        transmitter input 264 to one of the receivers of the other of
transmitters and receivers. Because lane reversal Switching             transceiver pairs 152 and 154. For example, cross bar circuit
system 150 is on a single chip, e.g., chip 250, and eliminates          260 may connect receiver output 262 to transmitter 170 of
the nodes on the sides of the lanes as found in the prior art,     35   transceiver pair 154 and transmitter input 264 to receiver 158
system 150 provides both DC and high frequency AC imped                 of transceiver pair 152, e.g., when the control signal is low
ance matching.                                                          (CTL=0). Cross bar circuit 260 may also connect receive
   The DC impedance is matched because the DC impedance                 output 262 to transmitter 156 of transceiver pair 152 and
of the terminating resistance of the active transmitter matches         transmitter input 264 to receiver 168 of transceiver pair 154,
the terminating resistance of the utilized receiver. For           40   e.g., when the control signal is high (CTL=1). Similarly, cross
example, terminating resistance 164, e.g., 5092, associated             bar circuit 260 may also connect receiver output 266 and
with active transmitter 156, matches terminating resistance             transmitter input 268 to transmitter 170 and receiver 158,
216, e.g., 502, associated with active receiver 184 on device           respectively, as well as to transmitter 156 and receiver 168.
200. Similarly, terminating resistance 188 associated with                 As described above, system 150 effectively reverses sides
active transmitter 186 matches terminating resistance 176          45   180 and 182 of lane 198 to provide connectivity to a device,
associated with active receiver 168. The same DC impedance              e.g., a line card or Switch card that has opposite orientation of
matching is found when transmitter 170 is active and receiver           its transmitters and receivers, such as devices 200 and 200'.
184' is used and when transmitter 186' is enabled and receiver             Although specific features of the invention are shown in
158 is used.                                                            Some drawings and not in others, this is for convenience only
   The high frequency AC impedance associated with the             50   as each feature may be combined with any or all of the other
terminating resistance of the active transmitter is matched             features inaccordance with the invention. The words “includ
with the characteristic impedance associated with the various           ing”, “comprising”, “having, and “with as used herein are
package traces 165 and 208, card traces 206 and 210, and                to be interpreted broadly and comprehensively and are not
package traces 202 and 214 that behave like transmission                limited to any physical interconnection. Moreover, any
lines with a characteristic impedance, as well as backplane        55   embodiments disclosed in the Subject application are not to be
transmission lines 204 and 212.                                         taken as the only possible embodiments. Other embodiments
   For example, if transmitter 156 of transceiver pair 152 is           will occur to those skilled in the art and are within the fol
enabled and terminating resistance 164 is, e.g., 5092, and              lowing claims.
package trace 165 behaves like a transmission line with a                  In addition, any amendment presented during the prosecu
characteristic impedance, e.g., 5092, the signal traveling from    60   tion of the patent application for this patent is not a disclaimer
transmitter 156 to package trace 165 will meet a matched high           of any claim element presented in the application as filed:
frequency impedance and no reflection will occur. When the              those skilled in the art cannot reasonably be expected to draft
signal travels across card trace 206, backplane transmission            a claim that would literally encompass all possible equiva
line 204, and package trace 202, all of which behave like a             lents, many equivalents will be unforeseeable at the time of
transmission line with a characteristic impedance, e.g., 5092,     65   the amendment and are beyond a fair interpretation of what is
no reflection will occur. When the signal meets terminating             to be Surrendered (if anything), the rationale underlying the
resistance 216, e.g., 5092, associated with active receiver 184,        amendment may bear no more than a tangential relation to
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many equivalents, and/or there are many other reasons the                       transceiver including a transmitter, a receiver, and a
applicant cannot be expected to describe certaininsubstantial                   node, the output of the transmitter connected to the input
Substitutes for any claim element amended.                                      of the receiver and to the node, the nodes of the first and
  What is claimed is:                                                           second transceivers connected to the first and second
  1. An impedance matched lane reversal Switching system                        transmission lines, respectively;
comprising:                                                                  first and second terminating resistances connected to the
  a first transceiver comprising a first transmitter and a first                nodes of the first and second transceivers, respectively;
     receiver, an output of the first transmitter being con                     and
     nected to an input of the first receiver and to a first                 a Switching circuit for selectively enabling one of the trans
     transmission line, the first transceiver disposed at a near      10        mitters of said first and second transceivers and dis
     end of a lane comprising the first transmission line and a                 abling the other in one mode to selectively reverse an
     second transmission line;                                                  egress side and an ingress side of the near side of the lane
  a first terminating resistance comprising a first node con                    while maintaining impedance matching between the
     nected to the output of the first transmitter, to the input of             first transceiver and the near end of the lane and between
     the first receiver, and the first transmission line;             15        the second transceiver and the near end of the lane.
  a second transceiver comprising a second transmitter and a                 12. A method of impedance matching and lane reversing a
     second receiver, an output of the second transmitter                  Switching system comprising the steps of
     being connected to an input of the second receiver and to               providing a first transceiver comprising a first transmitter
     the second transmission line, the second transceiver dis                   and a first receiver, an output of the first transmitter being
     posed at the near end of the lane;                                         connected to an input of the first receiver, to a first
  a second terminating resistance comprising a second node                      terminating resistance, and to a first transmission line,
     connected to the output of the second transmitter, to the                  the first transceiver disposed at a near end of a lane
     input of the second receiver, and the second transmission                  comprising the first transmission line and a second trans
     line; and                                                                  mission line;
  a Switching circuit for selectively enabling one of a first         25     providing a second transceiver comprising a second trans
    configuration comprising enabling the first transmitter,                   mitter and a second receiver, an output of the second
    utilizing the second receiver, disabling the second trans                  transmitter being connected to an input of the second
    mitter, and not utilizing the first receiver and a second                  receiver, to a second terminating resistance, and to the
    configuration comprising enabling the second transmit                       second transmission line, the second transceiver dis
    ter, utilizing the first receiver, disabling the first trans      30        posed at the near end of the lane; and
    mitter, and not utilizing the second receiver, thereby                   selectively enabling one of a first configuration comprising
     selectively reversing an egress side and an ingress side of                enabling the first transmitter, utilizing the second
    the near end of the lane while maintaining impedance                        receiver, disabling the second transmitter, and not utiliz
    matching between the first transceiver and the near end                     ing the first receiver and a second configuration com
     of the lane and between the second transceiver and the           35        prising enabling the second transmitter, utilizing the first
     near end of the lane.                                                      receiver, disabling the first transmitter, and not utilizing
   2. The system of claim 1 further including a connection at                   the second receiver thereby selectively reversing an
a far end of the lane to at least two types of devices that have                egress side and an ingress side of the near side of the lane
different orientations of their transmitters and receivers.                     while maintaining impedance matching between the
  3. The system of claim 2 in which said at least two types of 40               first transceiver and the near end of the lane and between
devices include line cards.                                                     the second transceiver and the near end of the lane.
  4. The system of claim 2 in which said at least two types of                13. The system of claim 1 in which the switching circuit
devices include Switch cards.                                              receives an input signal, the input signal being connected to
   5. The system of claim 1 in which said system is integrated             the first transmitter in the first configuration and connected to
on a single chip.                                                     45   the second transmitter in the second configuration.
   6. The system of claim 5 in which said single chip is                      14. The system of claim 1 in which the switching circuit
disposed on a Switch card.                                                 comprises an output signal, the output signal being connected
   7. The system of claim 5 in which said single chip is                   to the second receiver in the first configuration and connected
disposed on a line card.                                                   to the first receiver in the second configuration.
   8. The system of claim 1 in which said switching circuit           50      15. The system of claim 11 in which said system is inte
includes a plurality of switching devices for selectively                  grated on a single chip.
enabling one of the first configuration and the second con                    16. The system of claim 11 in which the switching circuit
figuration in response to an external control signal.                      further includes a cross bar circuit having at least one input
   9. The system of claim 8 in which said switching circuit                and at least one output, the crossbar circuit selectively con
includes an external control pin.                                     55   necting said at least one output to an enabled one of said
                                                                           transmitters of the first and second transceivers and selec
   10. The system of claim 1, in which the switching circuit               tively connecting said at least one input to a utilized one of the
further comprises a crossbar circuit having at least one input             receivers of the first and second transceivers.
and at least one output, the crossbar circuit selectively con                 17. The method of claim 12, wherein the first and second
necting said at least one output to an enabled one of said first      60   transmitters, first and second receivers, and first and second
transmitters or second transmitter and selectively connecting              terminating resistances are disposed on a single chip.
said at least one input to a utilized one of the first receivers or           18. The method of claim 12 further including selectively
second receiver.
  11. An impedance matched lane reversal Switching system                  connecting an output to an enabled one of said first transmitter
comprising:                                                                or second transmitter and selectively connecting an input to a
                                                                      65   utilized one of the first receiver or second receiver.
  first and second transceivers disposed at a near end of a lane
     comprising first and second transmission lines, each                                          k   k    k   k   k
